Case 1:02-Cv-01222-.]DT Document 138 Filed 05/23/05 Page 1 of 2 Page|D 91

IN THE UNITED sTATEs DISTRICT COURT F"£D /\g/ 0 C
WESTERN I)ISTRICT 0F TENNESSEE
EASTERN DIvIsIoN

DEMUS RICH and MELBA RICH,
CO-EXECUTORS OF THE ESTATE
OF GARY BRIAN RICH,

 

Plaintiffs,

No.: 1-02-1222-T
Todd

VS.

CITY OF SAVANNAH, TENNESSEE,
et al.

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Defendants. )
` AGREED ORDER OF EXTENSION OF TIME FOR DEFENDANTS TO
RESPOND TO PLAINTIFFS’ M{)TION TO EXCLUDE TESTIMONY OF
DANNY FRANKS ET AL.

By agreement of the Parties and for good cause shown, IT IS HEREBY

ORDERED that Det`endants Shall have until May 25, 2005 to file a response to Plaintiffs’

Motion to Exclude testimony of Danny Franks, et al.

ENTERED THIS 209 DAY OF MAY, 2005.

KM

United States Magistrate Judge

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Andrew C/Clarke, Attorn e/y/fo/ Plaintiffs/

w/% ama dew

Fred Collins, Attorney for (Z(it{of Sava.nna‘n

APPROVED FOR ENTRY:

 

Jotg»{c. Duffy', Aé@a{ey for Individual Defendams

Th s document entered on the docket E,`sheet m comp!iance

with m 9 se and/or re(a) FHCP on 51;2§§;( _)fg

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 138 in
case 1:02-CV-01222 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

